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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                             )
In re:                                                       )
                                                             ) Chapter 11
NEIMAN MARCUS GROUP LTD LLC, et al., 1                       )
                                                             ) Case No. 20-32519 (DRJ)
                 Reorganized Debtors.                        )
                                                             ) (Jointly Administered)
                                                             )

                      CERTIFICATE OF NO OBJECTION
                  TO LIQUIDATING TRUSTEE’S THIRTEENTH
         OMNIBUS OBJECTION TO CLAIMS (BOOKS AND RECORDS CLAIMS)

                                         [Related Docket No. 2486]

         The undersigned hereby certifies as follows:

         1.      On May 21, 2021, the Liquidating Trustee’s Thirteenth Omnibus Objection to

Claims (Books and Records Claims) [Docket No. 2486] (the “Objection”) was filed with the

Court by the trustee for the Liquidating GUC Trust (the “Liquidating Trustee”).

         2.      Responses, if any, to the Objection were required to have been filed with the

Court on or before June 21, 2021 (the “Response Deadline”).

         3.      The Response Deadline has passed and no responsive pleading to the Objection

has appeared on the Court’s docket in the above-captioned chapter 11 cases or was served upon

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    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc.
    (5530); Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015);
    Mariposa Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding
    Corporation (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial
    Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC
    (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC
    (5236); NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318);
    NMGP, LLC (1558); The Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth
    Avenue Leasing Company (5996). The Reorganized Debtors’ service address is: One Marcus Square, 1618
    Main Street, Dallas, Texas 75201.



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the undersigned counsel with respect to the claims listed on Schedule 1A and Schedule 1B to

Exhibit A. Further, the Liquidating Trustee has agreed to adjourn the hearing to a later date to

be determined with respect to the claims listed on Schedule 2 to Exhibit A and has withdrawn

the Objection without prejudice as it relates to the claims listed on Schedule 3 to Exhibit A.

Accordingly, the undersigned respectfully requests that the form of Order granting the Objection

attached hereto as Exhibit A be entered at the earliest convenience of the Court.


Dated: June 28, 2021                     /s/ Michael D. Warner
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                                         -and-

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                          Counsel for the Liquidating GUC Trust and Mohsin Meghji,
                          in his capacity as trustee of the Liquidating GUC Trust




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of June, 2021, a true and correct copy of the above
and foregoing has been served by electronic transmission to all registered CM/ECF users
appearing in these cases.

                                                     /s/ Michael D. Warner
                                                     Michael D. Warner




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